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                     Exhibit 1
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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  KANDICE NEALS, individually and on behalf
  of all others similarly situated,

                         Plaintiff,                     No. 19-cv-05660

          v.                                            Hon. Franklin U. Valderrama

  PARTECH, INC., a Delaware corporation,

                         Defendant.


                    STIPULATION OF CLASS ACTION SETTLEMENT

       This Class Action Settlement Agreement (“Settlement Agreement”) is entered into by

and among Plaintiff Kandice Neals (“Neals” or “Plaintiff”), for herself individually and on

behalf of the Settlement Class, and Defendant ParTech, Inc. (“ParTech” or “Defendant”)

(Plaintiff and ParTech are referred to individually as “Party” and collectively referred to as the

“Parties”). This Settlement Agreement is intended by the Parties to fully, finally, and forever

resolve, discharge, and settle the Released Claims upon and subject to the terms and conditions

hereof, and subject to the approval of the Court.

                                           RECITALS

       A.      On March 21, 2019, Plaintiff Kandice Neals filed a putative class action

complaint against PAR Technology Corp. (“PAR”) in the Circuit Court of Cook County, Illinois,

alleging violations of the Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”).

Plaintiff claimed that PAR allegedly collected, stored, and/or used her biometric data without

authorization when she scanned her finger on a PAR-branded point-of-sale (“POS”) system used

by her employer.




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       B.      On August 22, 2019, PAR removed the case to the United States District Court

for the Northern District of Illinois, where it was assigned the caption Neals v. PAR Technology

Corp., No. 19-cv-05660 (N.D. Ill.). (See dkt. 1.)

       C.      On October 21, 2019, PAR moved to dismiss the complaint. (Dkt. 19.) After full

briefing, on December 18, 2019, the Court granted PAR’s motion without prejudice and allowed

Plaintiff to file an amended complaint. (Dkt. 30).

       D.      Plaintiff filed an amended complaint on January 15, 2020, which substituted in

ParTech, Inc. as the defendant and added allegations that Plaintiff scanned her fingerprint into

the finger-scan POS system at issue in Illinois. (Dkt. 32.) On January 29, 2020, Defendant

ParTech answered Plaintiff’s amended complaint, denying liability and asserting fifteen

affirmative and other defenses. (Dkt. 35.)

       E.      After a status hearing on discovery on February 25, 2020, the Parties exchanged

their first sets of interrogatories and requests for production in early March. Plaintiff responded

to Defendant’s written discovery requests on April 8, 2020, and Defendant responded to

Plaintiff’s requests on June 19, 2020 amid the COVID-19 pandemic.

       F.      Plaintiff also served a subpoena for documents to Cross Match Technologies,

Inc.—the vendor of the alleged finger scanning hardware at issue—on July 28, 2020. Cross

Match Technologies responded to Plaintiff’s subpoena on August 27, 2020.

       G.      The Parties met and conferred multiple times regarding Defendant’s responses to

Plaintiff’s first written discovery requests, which resulted in Defendant providing its first

supplemental responses on August 10, 2020. Because the Parties were unable to fully resolve

their discovery dispute, on August 14, 2020, Plaintiff moved to compel certain written discovery

from Defendant. (Dkt. 65.) On September 9, 2020, the Court granted Plaintiff’s motion in part



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and denied it in part. (Dkt. 71.) Defendant served its second supplemental responses to Plaintiff’s

interrogatories on September 30, 2020 and its second supplemental responses to Plaintiff’s

document requests on October 6, 2020.

         H.    On August 14, 2020, Defendant filed a motion for judgment on the pleadings,

requesting that the Court sever and remand Plaintiff’s BIPA claims brought under 740 ILCS

14/15(a), in light of Bryant v. Compass Grp. USA, Inc., 958 F.3d 617 (7th Cir. 2020). (Dkt. 63).

The Parties fully briefed the issue, and on February 9, 2021, the Court denied Defendant’s

motion. (Dkt. 94).

         I.    On September 24, 2020, Plaintiff served her second set of written discovery

requests to Defendant, including interrogatories and requests for production, to which Defendant

responded on January 6, 2021.

         J.    On December 28, 2020, Defendant moved to stay proceedings for 90 days

pending a decision by the Illinois Appellate Court on the applicable statute of limitations for

BIPA claims. (Dkt. 85.) The Court denied Defendant’s motion after full briefing. (See dkts. 89,

90, 94.)

         K.    In early October of 2020, the Parties began to explore the possibility of a class-

wide settlement. (See dkts. 77, 78.) After numerous settlement discussions between the Parties,

including a conference call with Magistrate Judge Weisman, and several rounds of arms-length

negotiation over the course of nearly five months, the Parties agreed in March 2021 that a formal

mediation would be productive. (Dkt. 96.) On April 28, 2021, the Parties participated in a full-

day, formal mediation session with the Honorable Stuart E. Palmer (Ret.) of JAMS in Chicago.1

The Parties settlement negotiations lasted throughout the day, with the Parties ultimately



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         Due to COVID-19, the mediation session was conducted via videoconference.
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reaching an agreement in principle at the end of the session but with a few material terms of the

settlement still to be negotiated.

       L.      After two months of additional negotiation on the outstanding material terms and

the exchange of informal discovery, the Parties fully executed a binding Memorandum of

Understanding on June 30, 2021.

       M.      Plaintiff and Class Counsel conducted a comprehensive examination of the law

and facts relating to the allegations in the Action and Defendant’s potential defenses. Plaintiff

believes that the claims asserted in the Action have merit, that she would have ultimately

succeeded in obtaining adversarial certification of the proposed Settlement Class, and that she

would have prevailed on the merits at summary judgment or at trial. However, Plaintiff and

Class Counsel recognize that Defendant has raised factual and legal defenses in the Action that

presented a significant risk that Plaintiff may not prevail and/or that a class might not be certified

for trial. Class Counsel have also taken into account the uncertain outcome and risks of any

litigation, especially in complex actions, as well as difficulty and delay inherent in such

litigation. Plaintiff and Class Counsel believe that this Agreement presents an exceptional result

for the Settlement Class, and one that will be provided to the Settlement Class without delay.

Plaintiff and Class Counsel are satisfied that the terms and conditions of this Agreement are fair,

reasonable, adequate, and based on good faith negotiations, and in the best interests of Plaintiff

and the Settlement Class. Therefore, Plaintiff believes that it is desirable that the Released

Claims be fully and finally compromised, settled, and resolved with prejudice, and forever barred

pursuant to the terms and conditions set forth in the Settlement Agreement.

       N.      Defendant denies the material allegations in the Action, as well as all allegations

of wrongdoing and liability, including that it is subject to or violated BIPA, and believes that it



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would have prevailed on the merits and that a class would not be certified for trial. Nevertheless,

Defendant has similarly concluded that this settlement is desirable to avoid the time, risk, and

expense of defending protracted litigation, and to avoid the risk posed by the Settlement Class’s

claims for damages, attorneys’ fees, and related costs under BIPA. Defendant thus desires to

resolve finally and completely the pending and potential claims of Plaintiff and the Settlement

Class.

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

Plaintiff, the Settlement Class, and Defendant that, subject to the approval of the Court after a

hearing as provided for in this Settlement Agreement, and in consideration of the benefits

flowing to the Parties from the Settlement set forth herein, the Released Claims shall be fully and

finally compromised, settled, and released, and the Action shall be dismissed with prejudice,

upon and subject to the terms and conditions set forth in this Settlement Agreement.

                                          AGREEMENT

1. DEFINITIONS

         In addition to any definitions set forth elsewhere in this Settlement Agreement, the

following terms shall have the meanings set forth below:

         1.1    “Action” means the case captioned Neals v. ParTech, Inc., No. 19-cv-05660

(N.D. Ill.).

         1.2    “Agreement” or “Settlement Agreement” means this Stipulation of Class

Action Settlement and the attached Exhibits.

         1.3    “Approved Claim” means a Claim Form submitted by a Settlement Class

Member that is (a) timely and submitted in accordance with the directions on the Claim Form

and the terms of this Agreement, (b) is fully completed and physically or electronically signed by



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the Settlement Class Member, and (c) satisfies the conditions of eligibility for a Settlement

Payment as set forth in this Agreement.

         1.4     “Claims Deadline” means the date by which all Claim Forms must be

postmarked or submitted on the Settlement Website to be considered timely, and shall be set as a

date no later than sixty-three (63) days following the Notice Date, subject to Court approval. The

Claims Deadline shall be clearly set forth in the order preliminarily approving the Settlement, as

well as in the Notice and the Claim Form.

         1.5     “Claim Form” means the document substantially in the form attached hereto as

Exhibit A, as approved by the Court. The Claim Form, which shall be completed by Settlement

Class Members who wish to file a claim for a Settlement Payment, shall be available in paper

and electronic format. The Claim Form will require claiming Settlement Class Members to

provide the following information: (i) full name, (ii) current U.S. Mail address, (iii) current

contact telephone number and email address,2 and (iv) a statement that he or she scanned their

finger on a scanner attached to Defendant’s POS system at their place of employment in the state

of Illinois between March 21, 2014 and the date of the Preliminary Approval Order. The Claim

Form will not require notarization, but will require affirmation that the information supplied is

true and correct. The online Claim Form will provide Class Members with the option of having

their Settlement Payment transmitted to them electronically through Venmo, Zelle, Paypal,

Prepaid Mastercard, ACH Direct Deposit, or check. Class Members who submit a paper Claim

Form that is approved will be sent a check via U.S. Mail.




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 Consistent with sections 4.1(a) and 5.1(d) of this Agreement, the current contact telephone number and email
address for Settlement Class Members shall be provided only to the Settlement Administrator and shall not be
disclosed to Class Counsel.

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       1.6    “Class Counsel” means attorneys J. Eli Wade-Scott and Schuyler Ufkes of

Edelson PC and David Fish of Fish Potter Bolaños, P.C.

       1.7    “Class Representative” or “Plaintiff” means the named Plaintiff in the Action,

Kandice Neals.

       1.8    “Court” means the United States District Court for the Northern District of

Illinois, Eastern Division, the Honorable Franklin U. Valderrama presiding, or any judge who

shall succeed him as the Judge assigned to the Action.

       1.9     “Defendant” or “ParTech” means ParTech, Inc., a Delaware corporation.

       1.10    “Defendant’s Counsel” or “ParTech’s Counsel” means attorneys John T.

Ruskusky and Richard H. Tilghman of Nixon Peabody LLP.

       1.11 “Effective Date” means one business day following the later of: (i) the date upon

which the time expires for filing or noticing any appeal of the Final Approval Order; (ii) if there

is an appeal or appeals, other than an appeal or appeals solely with respect to the Fee Award or

incentive award, the date of completion, in a manner that finally affirms and leaves in place the

Final Approval Order without any material modification, of all proceedings arising out of the

appeal(s) (including, but not limited to, the expiration of all deadlines for motions for

reconsideration or petitions for review and/or certiorari, all proceedings ordered on remand, and

all proceedings arising out of any subsequent appeal(s) following decisions on remand); or

(iii) the date of final dismissal of any appeal or the final dismissal of any proceeding on certiorari

with respect to the Final Approval Order.

       1.12 “Escrow Account” means the separate, interest-bearing escrow account to be

established by the Settlement Administrator under terms acceptable to Class Counsel and

Defendant at a depository institution insured by the Federal Deposit Insurance Corporation. The



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money in the Escrow Account shall be invested in the following types of accounts and/or

instruments and no other: (a) demand deposit accounts and/or (b) time deposit accounts and

certificates of deposit, in either case with maturities of forty-five (45) days or less. Any interest

earned on the Escrow Account shall inure to the benefit of the Settlement Class as part of the

Settlement Payment, if practicable. The Settlement Administrator shall be responsible for all tax

filings with respect to the Escrow Account.

       1.13    “Fee Award” means the amount of attorneys’ fees and reimbursement of costs

awarded to Class Counsel by the Court to be paid out of the Settlement Fund.

       1.14    “Final Approval Hearing” means the hearing before the Court where Plaintiff

will request that the Final Approval Order be entered by the Court finally approving the

Settlement as fair, reasonable, adequate, and approving the Fee Award and the incentive award

to the Class Representative.

       1.15    “Final Approval Order” means the final approval order to be entered by the

Court approving the settlement of the Action in accordance with this Settlement Agreement after

the Final Approval Hearing, and dismissing the Action with prejudice.

       1.16    “Notice” means the notice of the proposed Settlement and Final Approval

Hearing, which is to be disseminated to the Settlement Class substantially in the manner set forth

in this Settlement Agreement, fulfills the requirements of Due Process and Federal Rule of Civil

Procedure 23, and is substantially in the form of Exhibits A and B attached hereto.

       1.17    “Notice Date” means the date by which the Notice is disseminated to the

Settlement Class, which shall be a date no later than twenty-eight (28) days after entry of the

Preliminary Approval Order.




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       1.18    “Objection/Exclusion Deadline” means the date by which a written objection to

the Settlement Agreement by a Class Member must be filed with the Court or a request for

exclusion submitted by a person within the Settlement Class must be postmarked or received by

the Settlement Administrator, which shall be designated as a date fifty-six (56) days after the

Notice Date, as approved by the Court. The Objection/Exclusion Deadline will be set forth in the

Notice and on the Settlement Website.

       1.19    “Preliminary Approval Order” means the Court’s order preliminarily approving

the Agreement, certifying the Settlement Class for settlement purposes, and approving the form

and manner of the Notice.

       1.20     “Released Claims” means any and all past and present claims or causes of

action, whether known or unknown (including “Unknown Claims” as defined below), arising

from or relating to any violation of the Biometric Information Privacy Act, whether brought

under federal, state, local, statutory or common law or any other law, including Plaintiff’s

allegations in the Action regarding Defendant’s or Brink Software, Inc.’s collection, possession,

or storage of biometric data through the use of a scanner attached to Defendant’s POS systems at

Defendant’s customers’ facilities located in the State of Illinois, asserted in this Action or any

other proceeding, other than actions brought by a State or federal governmental agency, in which

they have been or could be asserted.

       1.21    “Released Parties” means ParTech, PAR Technology Corporation, and all of

their present or former administrators, predecessors, successors, assigns, parents, subsidiaries,

acquired companies including Brink Software, Inc., holding companies, investors, sister and

affiliated companies, divisions, associates, affiliated and related entities, employers, employees,

agents, representatives, consultants, independent contractors, directors, managing directors,



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officers, partners, principals, members, attorneys, vendors, accountants, fiduciaries, financial and

other advisors, investment bankers, insurers, reinsurers, employee benefit plans, underwriters,

shareholders, lenders, auditors, investment advisors, and any and all present and former

companies, firms, trusts, corporations, officers and directors. Released Parties shall not include

Defendant’s customers (specifically, Illinois-based employers that use a finger scanner attached

to ParTech’s POS system).

       1.22    “Releasing Parties” means Plaintiff and each Settlement Class Member and their

respective present or past heirs, executors, estates, administrators, assigns, agents, and any other

representative of Plaintiff and each Settlement Class Member.

       1.23    “Settlement” means the final resolution of the Action as embodied by the terms

and conditions of this Agreement.

       1.24    “Settlement Administration Expenses” means the expenses reasonably incurred

by the Settlement Administrator in or relating to administering the Settlement, providing Notice,

creating and maintaining the Settlement Website, receiving and processing Claim Forms,

disbursing payments and mailing checks for Settlement Payments, and other such related

expenses, with all such expenses to be paid from the Settlement Fund.

       1.25    “Settlement Administrator” means Kroll Settlement Administration, LLC,

subject to approval of the Court, which will provide the Notice, create and maintain the

Settlement Website, receive and process Claim Forms, send Settlement Payments to Settlement

Class Members, be responsible for tax reporting, and perform such other settlement

administration matters set forth herein or contemplated by the Settlement.

       1.26    “Settlement Class” means all persons who scanned their fingers in the State of

Illinois through a scanner attached to a point of sale system (“POS system”) issued, leased, or



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sold by ParTech, Inc., and for whom any alleged biometric data (including without limitation any

alleged biometric identifiers or any alleged biometric information) relating to that scan was

shared with or stored by Defendant, between March 21, 2014 and the date of the Preliminary

Approval Order. Excluded from the Settlement Class are: (1) any Judge or Magistrate presiding

over this action and members of their families, (2) Defendant, Defendant’s subsidiaries, parent

companies, successors, predecessors, and any entity in which Defendant or its parents have a

controlling interest, (3) persons who executed Defendant’s e-consent or a written release from

the person’s employer that releases Defendant or the licensor or service provider of the

employer’s timekeeping software or POS system, before any alleged biometric data relating to

the person’s finger scan was shared with or stored by Defendant, (4) persons who properly

execute and file a timely request for exclusion from the Settlement Class, and (5) the legal

representatives, successors, heirs, or assigns of any such excluded persons.

       1.27    “Settlement Class Member” or “Class Member” means a person who falls

within the definition of the Settlement Class and who does not submit a valid request for

exclusion from the Settlement Class.

       1.28    “Settlement Fund” means the non-reversionary cash fund that shall be

established by Defendant in the amount of Seven Hundred Ninety Thousand Dollars

($790,000.00) to be deposited into the Escrow Account, plus all interest earned thereon.

Defendant shall fully fund the Escrow Account within twenty-eight (28) days after the entry of

the Preliminary Approval Order. The Settlement Fund represents the total extent of Defendant’s

monetary obligations under this Agreement and shall satisfy all monetary obligations of

Defendant (or any other Released Party) under this Settlement Agreement, including the

Settlement Payments, Settlement Administration Expenses, Fee Award, litigation costs,



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incentive award, taxes, and any other payments or other monetary obligations contemplated by

this Agreement or the Settlement, subject to Section 7.2. The Settlement Fund shall be kept in

the Escrow Account with permissions granted to the Settlement Administrator to access said

funds until such time as the above-listed payments are made. In no event shall any amount paid

by Defendant into the Escrow Account, or any interest earned thereon, revert to Defendant.

       1.29    “Settlement Payment” means a pro rata portion of the Settlement Fund less any

Fee Award, incentive award to the Class Representative, and Settlement Administration

Expenses, with any remainder to be paid in accordance with Section 2.1(f).

       1.30    “Settlement Website” means the website to be created, launched, and maintained

by the Settlement Administrator, which will provide access to relevant settlement administration

documents, including the Notice, relevant court filings, and the ability to submit Claim Forms

online. The Settlement Website shall be live and active by the Notice Date, and the URL of the

Settlement Website shall be www.ParILBIPASettlement.com, or such other URL as the Parties

may subsequently agree to.

       1.31    “Unknown Claims” means claims that could have been raised in the Action and

that Plaintiff, any member of the Settlement Class or any Releasing Party, do not know or

suspect to exist, which, if known by him, her or it, might affect his, her or its agreement to

release the Released Parties or the Released Claims or might affect his, her or its decision to

agree, to object or not to object to the Settlement. Upon the Effective Date, Plaintiff, the

Settlement Class, and the Releasing Parties shall be deemed to have, and shall have, expressly

waived and relinquished, to the fullest extent permitted by law, the provisions, rights and

benefits of Section 1542 of the California Civil Code, which provides as follows:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER

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       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
       BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
       SETTLEMENT WITH THE DEBTOR.

Upon the Effective Date, each of the Releasing Parties shall be deemed to have, and shall have,

waived any and all provisions, rights and benefits conferred by any law of any state, the District

of Columbia or territory of the United States, by federal law, or principle of common law, or the

law of any jurisdiction outside of the United States, which is similar, comparable or equivalent to

Section 1542 of the California Civil Code. Plaintiff, the Settlement Class, and the Releasing

Parties acknowledge that they may discover facts in addition to or different from those that they

now know or believe to be true with respect to the subject matter of the Release, but that it is

their intention to finally and forever settle and release the Released Claims, notwithstanding any

Unknown Claims they may have, as that term is defined in this Section.

2. SETTLEMENT RELIEF

       2.1     Settlement Payments to Settlement Class Members.

               a.      Settlement Class Members shall have until the Claims Deadline to submit

       Claim Forms. Each Settlement Class Member who submits an Approved Claim shall be

       entitled to a Settlement Payment.

               b.      The Settlement Administrator shall have sole and final authority for

       determining if Settlement Class Members’ Claim Forms are complete, timely, and

       accepted as an Approved Claim.

               c.      Within twenty-eight (28) days of the Effective Date, or such other date as

       the Court may set, the Settlement Administrator shall send Settlement Payments from the

       Settlement Fund by electronic deposit, prepaid Mastercard, or by check via First Class

       U.S. Mail to the account or address provided on the Approved Claim Form, as elected by



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       the Class Member with an Approved Claim.

               d.      Each payment issued to a Class Member by check will state on the face of

       the check that it will become null and void unless cashed within ninety (90) calendar days

       after the date of issuance.

               e.      In the event that an electronic deposit to a Class Member is unable to be

       processed, the Settlement Administrator shall attempt to contact the Class Member within

       thirty (30) calendar days to correct the problem.

               f.      To the extent that a check issued to a Settlement Class Member is not

       cashed within ninety (90) days after the date of issuance or an electronic deposit is unable

       to be processed within ninety (90) days of the first attempt, such funds shall be

       distributed as cy pres to Southern Smoke Foundation’s Chicago Restaurant Worker

       Relief Fund, subject to approval by the Court, and/or any other cy pres recipient selected

       by the Court.

       2.2    Prospective Relief. The Parties acknowledge that ParTech has (i) posted on its

website a publicly-available retention and destruction schedule, and (ii) implemented an e-

consent form in writing. ParTech agrees to continue to maintain a publicly-available retention

and destruction schedule and obtain e-consent in Illinois prior to receiving any alleged biometric

data going forward. ParTech further agrees to destroy the alleged biometric data of any

Settlement Class members in its possession within thirty (30) days of a customer providing

ParTech notice that the Settlement Class member’s alleged biometric data should be deleted.

3. RELEASE

       3.1     The Release. Upon the Effective Date, and in consideration of the settlement

relief and other consideration described herein, the Releasing Parties, and each of them, shall be



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deemed to have released, and by operation of the Final Approval Order shall have, fully, finally,

and forever released, acquitted, relinquished and completely discharged the Released Parties

from any and all Released Claims whether in this Action or Related Actions.

4. NOTICE TO THE CLASS

       4.1     The Notice shall include:

               a.     Class List. Within twenty-one (21) days after the Parties execute this

       Agreement, Defendant shall provide the Settlement Administrator, and only the

       Settlement Administrator, a list of all names and last known U.S. mail addresses of all

       persons in the Settlement Class (the “Class List”). Within seven (7) days after Defendant

       provides the Class List to the Settlement Administrator, the Settlement Administrator

       shall provide Class Counsel a report detailing the total number of unique names on the

       Class List and the number of unique names for whom an address is available on the Class

       List (but in each instance only the number and not the names or addresses themselves).

       To the extent that Defendant lacks contact information for any Settlement Class

       members, the Parties will address a procedure with the Court to obtain such contact

       information, including Plaintiff issuing subpoenas to Defendant’s customers. The

       Settlement Administrator shall keep the Class List and all personal information obtained

       therefrom, including the identity and mailing addresses and other contact information of

       all persons strictly confidential. The Class List may not be used by the Settlement

       Administrator for any purpose other than advising specific individual Settlement Class

       members of their rights, mailing Settlement Payments, and otherwise effectuating the

       terms of the Settlement Agreement or the duties arising thereunder, including the

       provision of Notice of the Settlement. To avoid any doubt, the Settlement Administrator



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     shall not provide any name or address information or contact information for any

     individual on the Class List to Class Counsel, though nothing shall prevent Class Counsel

     from advising any Settlement Class member that contacts them directly.

            b.            The Notice shall include the best notice practicable, including but not

     limited to:

                     i.          Update Addresses. Prior to mailing any Notice, the Settlement

            Administrator will update the U.S. mail addresses of persons on the Class List

            using the National Change of Address database and other available resources

            deemed suitable by the Settlement Administrator. The Settlement Administrator

            shall take all reasonable steps to obtain the correct address of any Settlement

            Class members for whom Notice is returned by the U.S. Postal Service as

            undeliverable and shall attempt re-mailings as described below.

                    ii.           Direct Notice. The Settlement Administrator shall send Notice via

            First Class U.S. Mail substantially in the form attached as Exhibit A to all persons

            in the Settlement Class for whom a valid U.S. Mail address is available on the

            Class List no later than the Notice Date.

                   iii.          Internet Notice. Within fourteen (14) days after the entry of

            Preliminary Approval, the Settlement Administrator will develop, host, administer

            and maintain a Settlement Website containing the notice substantially in the form

            of Exhibit B. The Settlement Administrator shall provide a copy of the Settlement

            Website to Class Counsel and Defendant’s Counsel for their review, comment and

            approval at least five (5) calendar days prior to its public posting.




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                    iv.        CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than ten (10)

               days after the Agreement is filed with the Court, Defendant shall cause to be

               served upon the Attorneys General of each U.S. State in which Settlement Class

               members reside, the Attorney General of the United States, and other required

               government officials, notice of the proposed settlement as required by law.

       4.2     The Notice shall advise the Settlement Class of their rights under the Settlement,

including the right to be excluded from or object to the Settlement Agreement or its terms. The

Notice shall specify that any objection to this Settlement Agreement, and any papers submitted

in support of said objection, shall be received by the Court at the Final Approval Hearing, only

if, on or before the Objection/Exclusion Deadline approved by the Court and specified in the

Notice, the person making an objection shall file notice of his or her intention to do so and at the

same time (a) files copies of such papers he or she proposes to submit at the Final Approval

Hearing with the Clerk of the Court, (b) files copies of such papers through the Court’s CM/ECF

system if the objection is from a Settlement Class Member represented by counsel, who must

also file an appearance, and (c) sends copies of such papers via e-mail, U.S. mail, hand, or

overnight delivery service to Class Counsel and Defendant’s Counsel.

       4.3     Right to Object or Comment. Any Settlement Class Member who intends to

object to this Settlement Agreement must present the objection in writing, which must be

personally signed by the objector and must include: (a) the Settlement Class Member’s full name

and current address, (b) a statement that he or she believes himself or herself to be a member of

the Settlement Class, (c) whether the objection applies only to the objector, to a specific subset of

the Settlement Class, or to the entire Settlement Class, (d) the specific grounds for the objection,

(e) all documents or writings that the Settlement Class Member desires the Court to consider, (f)



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the name and contact information of any and all attorneys representing, advising, or in any way

assisting the objector in connection with the preparation or submission of the objection or who

may profit from the pursuit of the objection, and (g) a statement indicating whether the objector

intends to appear at the Final Approval Hearing (either personally or through counsel, who must

file an appearance or seek pro hac vice admission). All written objections must be filed with the

Court and postmarked, e-mailed, or delivered to Class Counsel and Defendant’s Counsel no later

than the Objection/Exclusion Deadline. Any Settlement Class Member who fails to timely file a

written objection with the Court and notice of his or her intent to appear at the Final Approval

Hearing in accordance with the terms of this Section and as detailed in the Notice, and at the

same time provide copies to designated counsel for the Parties, shall not be permitted to object to

this Settlement Agreement at the Final Approval Hearing, and shall be foreclosed from seeking

any review of this Settlement Agreement or the Final Approval Order by appeal or other means

and shall be deemed to have waived his or her objections and be forever barred from making any

such objections in the Action or any other action or proceeding.

       4.4     Right to Request Exclusion. Any person in the Settlement Class may submit a

request for exclusion from the Settlement on or before the Objection/Exclusion Deadline. To be

valid, any request for exclusion must (a) be in writing; (b) identify the case name Neals v.

ParTech, Inc., No. 2019-cv-05660 (N.D. Ill.); (c) state the full name and current address of the

person in the Settlement Class seeking exclusion; (d) be signed by the person(s) seeking

exclusion; and (e) be postmarked or received by the Settlement Administrator on or before the

Objection/Exclusion Deadline. In light of the COVID-19 pandemic, the Settlement

Administrator shall create a dedicated e-mail address to receive exclusion requests electronically.

Each request for exclusion must also contain a statement to the effect that “I hereby request to be



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excluded from the proposed Settlement Class in Neals v. ParTech, Inc., 2019-cv-05660 (N.D.

Ill.).” A request for exclusion that does not include all of the foregoing information, that is sent

to an address or e-mail address other than that designated in the Notice, or that is not postmarked

or electronically delivered to the Settlement Administrator within the time specified, shall be

invalid and the persons serving such a request shall be deemed to remain Settlement Class

Members and shall be bound as Settlement Class Members by this Settlement Agreement, if

approved. Any person who elects to request exclusion from the Settlement Class in compliance

with this provision shall not (a) be bound by any orders or the Final Approval Order entered in

the Action, (b) receive a Settlement Payment under this Settlement Agreement, (c) gain any

rights by virtue of this Settlement Agreement, or (d) be entitled to object to any aspect of this

Settlement Agreement or the Final Approval Order or Alternative Approval Order. No person

may request to be excluded from the Settlement Class through “mass” or “class” opt-outs.

5. SETTLEMENT ADMINISTRATION

       5.1     Settlement Administrator’s Duties.

               a.      Confidentiality of the Class List. Defendant and the Settlement

       Administrator have executed a Confidential Disclosure Agreement (“NDA”) related to

       confidentiality matters, including the Class List.

               b.      Dissemination of Notices. The Settlement Administrator shall disseminate

       the Notice as provided in Section 4 of this Settlement Agreement.

               c.      Undeliverable Notice via U.S. Mail. If any Notice sent via U.S. mail is

       returned as undeliverable, the Settlement Administrator shall forward it to any forwarding

       addresses provided by the U.S. Postal Service. If no such forwarding address is provided,

       the Settlement Administrator shall perform skip traces to attempt to obtain the most



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     recent addresses for such Settlement Class members.

            d.      Maintenance of Records. The Settlement Administrator shall maintain

     reasonably detailed records of its activities under this Settlement Agreement. The

     Settlement Administrator shall maintain all such records as required by applicable law in

     accordance with its business practices and such records will be made available to Class

     Counsel and Defendant’s Counsel upon request, except that Plaintiff and Class Counsel

     shall not have access to the name and address or contact information for Class Members

     provided by ParTech or the Class Members regarding Settlement Class Members. The

     Settlement Administrator shall also provide reports and other information to the Court as

     the Court may require. Upon request, the Settlement Administrator shall provide Class

     Counsel and Defendant’s Counsel with information concerning the Notice, the number of

     Claim Forms submitted, the number of Approved Claims, any requests for exclusion, and

     the administration and implementation of the Settlement. Should the Court request, the

     Parties shall submit a timely report to the Court summarizing the work performed by the

     Settlement Administrator, including a post-distribution accounting of all amounts from

     the Settlement Fund paid to Settlement Class Members, the number and value of checks

     not cashed, the number and value of electronic payments unprocessed, and the amount

     distributed to any cy pres recipient.

            e.      Receipt of Requests for Exclusion. The Settlement Administrator shall

     receive requests for exclusion from persons in the Settlement Class and provide to Class

     Counsel and Defendant’s Counsel a copy thereof within five (5) days of the

     Objection/Exclusion Deadline. If the Settlement Administrator receives any requests for

     exclusion or other requests from Settlement Class Members after the Objection/Exclusion



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     Deadline, the Settlement Administrator shall promptly provide copies thereof to Class

     Counsel and Defendant’s Counsel.

            f.     Creation of Settlement Website. The Settlement Administrator shall create

     the Settlement Website. The Settlement Website shall include a toll-free phone number

     and mailing address through which persons in the Settlement Class may contact the

     Settlement Administrator or Class Counsel directly.

            g.     Processing Claim Forms. The Settlement Administrator shall, under the

     supervision of the Court, administer the relief provided by this Settlement Agreement by

     processing Claim Forms in a rational, responsive, cost effective, and timely manner. The

     Settlement Administrator shall be obliged to employ reasonable procedures to screen

     claims for abuse or fraud and deny Claim Forms where there is evidence of abuse or

     fraud, including by cross-referencing Approved Claims with the Class List. The

     Settlement Administrator shall determine whether a Claim Form submitted by a

     Settlement Class Member is an Approved Claim and shall reject Claim Forms that fail to

     (a) comply with the instructions on the Claim Form or the terms of this Agreement, or (b)

     provide full and complete information as requested on the Claim Form. In the event a

     person submits a timely Claim Form by the Claims Deadline, but the Claim Form is not

     otherwise complete, then the Settlement Administrator shall give such person reasonable

     opportunity to provide any requested missing information, which information must be

     received by the Settlement Administrator no later than twenty-eight (28) calendar days

     after the Claims Deadline. In the event the Settlement Administrator receives such

     information more than twenty-eight (28) calendar days after the Claims Deadline, then

     any such claim shall be denied. The Settlement Administrator may contact any person



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       who has submitted a Claim Form to obtain additional information necessary to verify the

       Claim Form.

              h.      Timing of Settlement Payments. The Settlement Administrator shall make

       Settlement Payments contemplated in Section 2 of this Settlement Agreement to all

       Settlement Class Members who have completed tax forms within twenty-eight (28) days

       after the Effective Date.

              i.      Tax Reporting. The Settlement Administrator shall be responsible for all

       tax filings related to the Escrow Account, including requesting Form W-9’s from

       Settlement Class Members and performing back-up withholding as necessary, and

       making any required “information returns” as that term is used in 26 U.S.C. § 1 et seq.

6. PRELIMINARY APPROVAL AND FINAL APPROVAL

       6.1    Preliminary Approval. Promptly after execution of this Settlement Agreement,

Class Counsel shall submit this Settlement Agreement to the Court and shall move the Court to

enter a Preliminary Approval Order, which shall include, among other provisions, a request that

the Court:

              a.      Appoint Plaintiff as Class Representative of the Settlement Class for

       settlement purposes only;

              b.      Appoint Class Counsel to represent the Settlement Class;

              c.      Certify the Settlement Class under Federal Rule of Civil Procedure 23, for

       settlement purposes only;

              d.      Preliminarily approve this Settlement Agreement for purposes of

       disseminating Notice to the Settlement Class;

              e.      Approve the form and contents of the Notice and the method of its



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       dissemination to members of the Settlement Class; and

               f.      Schedule a Final Approval Hearing after the expiration of the CAFA

       notice period, to review comments and/or objections regarding this Settlement

       Agreement, to consider its fairness, reasonableness and adequacy, to consider the

       application for a Fee Award and incentive award to the Class Representative, and to

       consider whether the Court shall enter a Final Approval Order approving this Settlement

       Agreement and dismissing the Action with prejudice.

       6.2     Final Approval. After Notice to the Settlement Class is given, Class Counsel

shall move the Court for entry of a Final Approval Order, which shall include, among other

provisions, a request that the Court:

               a.      find that it has personal jurisdiction over all Settlement Class Members

       and subject matter jurisdiction to approve this Settlement Agreement, including all

       attached Exhibits;

               b.      approve the Settlement as fair, reasonable and adequate as to, and in the

       best interests of, the Settlement Class Members;

               c.      direct the Parties and their counsel to implement and consummate the

       Settlement according to its terms and conditions;

               d.      declare the Settlement to be binding on, and have res judicata and

       preclusive effect in, all pending and future lawsuits, Related Actions, or other

       proceedings maintained by or on behalf of Plaintiff and all other Settlement Class

       Members and Releasing Parties;

               e.      find that the Notice implemented pursuant to the Settlement Agreement

       (1) constitutes the best practicable notice under the circumstances, (2) constitutes notice



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     that is reasonably calculated, under the circumstances, to apprise the Settlement Class of

     the pendency of the Action and their rights to object to or exclude themselves from this

     Settlement Agreement and to appear at the Final Approval Hearing, (3) is reasonable and

     constitutes due, adequate and sufficient notice to all persons entitled to receive notice,

     and (4) fulfills the requirements of the Federal Rules of Civil Procedure, the Due Process

     Clause of the United States Constitution, and the rules of the Court;

            f.      find that the Class Representative and Class Counsel adequately

     represented the Settlement Class for purposes of entering into and implementing the

     Settlement Agreement;

            g.      dismiss the Action on the merits and with prejudice, without fees or costs

     to any Party except as provided in this Settlement Agreement;

            h.      incorporate the Release set forth above, make the Release effective as of

     the Effective Date, and forever discharge the Released Parties as set forth herein;

            i.      authorize the Parties, without further approval from the Court, to agree to

     and adopt such amendments, modifications and expansions of the Settlement and its

     implementing documents (including all Exhibits to this Settlement Agreement) that (i)

     shall be consistent in all material respects with the Final Approval Order, and (ii) do not

     limit the rights of Settlement Class Members; and

            j.      without affecting the finality of the Final Approval Order for purposes of

     appeal, retain jurisdiction as to all matters relating to administration, consummation,

     enforcement and interpretation of the Settlement Agreement and the Final Approval

     Order, and for any other necessary purpose.




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       6.3     Cooperation. The Parties shall, in good faith, cooperate, assist and undertake all

reasonable actions and steps in order to accomplish these required events on the schedule set by

the Court, subject to the terms of this Settlement Agreement.

7.     TERMINATION OF THE SETTLEMENT AGREEMENT & CONFIRMATORY
       DISCOVERY

       7.1     Termination. Subject to Section 9 below, the Class Representative, on behalf of

the Settlement Class, or Defendant, shall have the right to terminate this Agreement by providing

written notice of the election to do so to Class Counsel or Defendant’s Counsel within ten (10)

days of any of the following events: (i) the Court’s refusal to enter the Preliminary Approval

Order approving of this Agreement in any material respect; (ii) the Court’s refusal to enter the

Final Approval Order in this Action in any material respect; (iii) the Court’s refusal to enter a

final judgment in this Action in any material respect; (iv) the date upon which the Final Approval

Order is modified or reversed in any material respect by the Court of Appeals or the Supreme

Court; (v) if 8% of more of the individuals included on the Class List submit a valid request for

exclusion from the Settlement; or (vi) the date upon which an Alternative Approval Order is

entered, as defined in Section 9.1 of this Agreement, is modified or reversed in any material

respect by the Court of Appeals or the Supreme Court.

       7.2     Confirmatory Discovery. Defendant represents that the Settlement Class

contains approximately 3,500 members. Defendant shall provide appropriate confirmatory

discovery regarding the size of the Settlement Class within seven (7) days after the Parties

execute this Agreement. Should confirmatory discovery reveal that there are 3,601 or more

Settlement Class members, the Parties shall address any increases to the Settlement Fund based

on the facts and circumstances of such increases, and if no agreement is reached, they shall

submit the matter to Judge Stuart Palmer (ret.) of JAMS Chicago for binding determination.

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8.      INCENTIVE AWARD AND CLASS COUNSEL’S ATTORNEYS’ FEES AND
        REIMBURSEMENT OF EXPENSES

        8.1    As part of this Settlement, Defendant agrees that Class Counsel is entitled to

reasonable attorneys’ fees and unreimbursed expenses incurred in the Action as the Fee Award

from the Settlement Fund. The amount of the Fee Award shall be determined by the Court based

on petition from Class Counsel. Class Counsel has agreed, with no consideration from

Defendant, to limit their request for attorneys’ fees and unreimbursed costs to thirty-five percent

(35%) of the Settlement Fund, after costs of Notice and administration are deducted. Defendant

may challenge the amount requested. Payment of the Fee Award shall be made from the

Settlement Fund and should the Court award less than the amount sought by Class Counsel, the

difference in the amount sought and the amount ultimately awarded pursuant to this Section shall

remain in the Settlement Fund and be distributed to Settlement Class Members as Settlement

Payments. The Fee Award shall be payable within five (5) business days after the Effective Date.

Payment of the Fee Award shall be made by the Settlement Administrator via wire transfer to an

account designated by Class Counsel after providing necessary information for electronic

transfer.

        8.2    Defendant agrees that the Class Representative shall be paid an incentive award in

the amount of Five Thousand Dollars ($5,000.00) from the Settlement Fund, in addition to any

Settlement Payment pursuant to this Settlement Agreement and in recognition of her efforts on

behalf of the Settlement Class, subject to Court approval. Should the Court award less than this

amount, the difference in the amount sought and the amount ultimately awarded pursuant to this

Section shall remain in the Settlement Fund and be distributed to Settlement Class Members as

Settlement Payments. Any incentive award shall be paid from the Settlement Fund (in the form

of a check to the Class Representative that is sent care of Class Counsel), within five (5) business

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days after the Effective Date.

9.     CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
       CANCELLATION OR TERMINATION.

       9.1     The Effective Date shall not occur unless and until each and every one of the

following events occurs, and shall be the date upon which the last (in time) of the following

events occurs subject to the provisions in Section 1.11:

               a.      This Agreement has been signed by the Parties and Class Counsel;

               b.      The Court has entered a Preliminary Approval Order approving the

       Agreement;

               c.      The Court has entered a Final Approval Order finally approving the

       Agreement, or a judgment substantially consistent with this Settlement Agreement that

       has become final and unappealable, following Notice to the Settlement Class and a Final

       Approval Hearing, as provided in the Federal Rules of Civil Procedure; and

               d.      In the event that the Court enters an approval order and final judgment in a

       form other than that provided above (“Alternative Approval Order”) to which the Parties

       have consented, that Alternative Approval Order has become final and unappealable.

       9.2     If some or all of the conditions specified in Section 9.1 are not met, or in the event

that this Agreement is not approved by the Court, or the settlement set forth in this Agreement is

terminated or fails to become effective in accordance with its terms, then this Agreement shall be

canceled and terminated subject to Section 9.3, unless Class Counsel and Defendant’s Counsel

mutually agree in writing to proceed with this Settlement Agreement. If any Party is in material

breach of the terms hereof, any other Party, provided that it is in substantial compliance with the

terms of this Agreement, may terminate this Settlement Agreement on notice to all other Parties.

Notwithstanding anything herein, the Parties agree that the following shall not prevent the

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Settlement Agreement from becoming effective, nor shall they be grounds for termination of the

Agreement: (1) the Court’s decision as to the amount of the Fee Award to Class Counsel set

forth above or the incentive award to the Class Representative, regardless of the amounts

awarded, or (2) the Court’s determination that it lacks jurisdiction such that the Parties’

Agreement will be renewed in an appropriate forum.

       9.3     If this Settlement Agreement is terminated or fails to become effective for the

reasons set forth above, the Parties shall be restored to their respective positions in the Action as

of the date of the signing of this Agreement. In such event, any Final Approval Order or other

order entered by the Court in accordance with the terms of this Agreement shall be treated as

vacated, nunc pro tunc, and the Parties shall be returned to the status quo ante with respect to the

Action as if this Settlement Agreement had never been entered into. In the event of any such

termination, any documents relating to the Parties’ settlement communications or dealings shall

be subject to Federal Rule of Evidence 408 or equivalent state law.

10.    MISCELLANEOUS PROVISIONS.

       10.1    The Parties: (a) acknowledge that it is their intent to consummate this Agreement;

and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to the extent

reasonably necessary to effectuate and implement all terms and conditions of this Agreement and

to exercise their reasonable best efforts to accomplish the foregoing terms and conditions of this

Settlement Agreement. Class Counsel and Defendant’s Counsel agree to cooperate with one

another in seeking entry of the Preliminary Approval Order and the Final Approval Order, and

promptly to agree upon and execute all such other documentation as may be reasonably required

to obtain final approval of the Settlement Agreement.




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       10.2    Each signatory to this Agreement represents and warrants (a) that he, she, or it has

all requisite power and authority to execute, deliver and perform this Settlement Agreement and

to consummate the transactions contemplated herein, (b) that the execution, delivery and

performance of this Settlement Agreement and the consummation by it of the actions

contemplated herein have been duly authorized by all necessary corporate action on the part of

each signatory, and (c) that this Settlement Agreement has been duly and validly executed and

delivered by each signatory and constitutes its legal, valid and binding obligation.

       10.3    The Parties intend this Settlement Agreement to be a final and complete

resolution of all disputes between them with respect to the Released Claims by Plaintiff and the

other Settlement Class Members, and each or any of them, on the one hand, against the Released

Parties, and each or any of the Released Parties, on the other hand. Accordingly, the Parties agree

not to assert in any forum that the Action was brought by Plaintiff or defended by Defendant, or

each or any of them, in bad faith or without a reasonable basis.

       10.4    The Parties have relied upon the advice and representation of their respective

counsel, selected by them, concerning the claims hereby released. The Parties have read and

understand fully this Settlement Agreement and have been fully advised as to the legal effect

hereof by counsel of their own selection and intend to be legally bound by the same.

       10.5    Whether the Effective Date occurs or this Settlement is terminated, neither this

Settlement Agreement nor the Settlement contained herein, nor any court order, communication,

act performed or document executed pursuant to, relating to or in furtherance of this Settlement

Agreement or the Settlement:

               a.      is, may be deemed, or shall be used, offered or received against the

       Released Parties, or each or any of them as an admission, concession or evidence of, the



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     validity of any Released Claims, the appropriateness of class certification, the truth of

     any fact alleged by Plaintiff, the deficiency of any defense that has been or could have

     been asserted in the Action, the violation of any law or statute, the reasonableness of the

     Settlement Fund, Settlement Payment or the Fee Award, or of any alleged wrongdoing,

     liability, negligence, or fault of the Released Parties, or any of them;

            b.      is, may be deemed, or shall be used, offered or received against Defendant

     as, an admission, concession or evidence of any fault, misrepresentation or omission with

     respect to any statement or written document approved or made by the Released Parties,

     or any of them;

            c.      is, may be deemed, or shall be used, offered or received against Plaintiff or

     the Settlement Class, or each or any of them as an admission, concession or evidence of,

     the infirmity or strength of any claims asserted in the Action, the truth or falsity of any

     fact alleged by Defendant, or the availability or lack of availability of meritorious

     defenses to the claims raised in the Action;

            d.      is, may be deemed, or shall be used, offered or received against the

     Released Parties, or each or any of them as an admission or concession with respect to

     any liability, negligence, fault or wrongdoing as against any Released Parties, in any

     civil, criminal or administrative proceeding in any court, administrative agency or other

     tribunal. However, the Settlement, this Settlement Agreement, and any acts performed

     and/or documents executed in furtherance of or pursuant to this Settlement Agreement

     and/or Settlement may be used in any proceedings as may be necessary to effectuate the

     provisions of this Settlement Agreement. Moreover, if this Settlement Agreement is

     approved by the Court, any of the Released Parties may file this Settlement Agreement



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       and/or the Final Approval Order in any action that may be brought against such parties in

       order to support a defense or counterclaim based on principles of res judicata, collateral

       estoppel, release, good faith settlement, judgment bar or reduction, or any other theory of

       claim preclusion or issue preclusion, or similar defense or counterclaim;

               e.      is, may be deemed, or shall be construed against Plaintiff and the

       Settlement Class, or each or any of them, or against the Released Parties, or each or any

       of them, as an admission or concession that the consideration to be given hereunder

       represents an amount equal to, less than or greater than that amount that could have or

       would have been recovered after trial; and

               f.      is, may be deemed, or shall be construed as or received in evidence as an

       admission or concession against Plaintiff and the Settlement Class, or each and any of

       them, or against the Released Parties, or each or any of them, that any of Plaintiff’s

       claims are with or without merit or that damages recoverable in the Action would have

       exceeded or would have been less than any particular amount.

       10.6    The headings used herein are used for the purpose of convenience only and are

not meant to have legal effect.

       10.7    The waiver by one Party of any breach of this Settlement Agreement by any other

Party shall not be deemed as a waiver of any other prior or subsequent breaches of this

Settlement Agreement.

       10.8    All of the Exhibits to this Settlement Agreement are material and integral parts

hereof and are fully incorporated herein by reference.

       10.9    This Settlement Agreement and its Exhibits A–B set forth the entire agreement

and understanding of the Parties with respect to the matters set forth herein, and supersede all



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prior negotiations, agreements, arrangements and undertakings with respect to the matters set

forth herein. No representations, warranties or inducements have been made to any Party

concerning this Settlement Agreement or its Exhibits A–B other than the representations,

warranties and covenants contained and memorialized in such documents. This Settlement

Agreement may be amended or modified only by a written instrument signed by or on behalf of

all Parties or their respective successors-in-interest.

        10.10 Except as otherwise provided herein, each Party shall bear its own attorneys’ fees

and costs incurred in any way related to the Action.

        10.11 Plaintiff represents and warrants that she has not assigned any claim or right or

interest relating to any of the Released Claims against the Released Parties to any other person or

party and that she is fully entitled to release the same.

        10.12 Each counsel or other Person executing this Settlement Agreement, any of its

Exhibits, or any related settlement documents on behalf of any Party hereto, hereby warrants and

represents that such Person has the full authority to do so and has the authority to take

appropriate action required or permitted to be taken pursuant to the Settlement Agreement to

effectuate its terms.

        10.13 This Settlement Agreement may be executed in one or more counterparts. All

executed counterparts and each of them shall be deemed to be one and the same instrument.

Signature by digital, facsimile, or in PDF format will constitute sufficient execution of this

Settlement Agreement. A complete set of original executed counterparts shall be filed with the

Court if the Court so requests.

        10.14 The Court shall retain jurisdiction with respect to implementation and

enforcement of the terms of this Settlement Agreement, and all Parties hereto submit to the



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jurisdiction of the Court for purposes of implementing and enforcing the settlement embodied in

this Settlement Agreement.

       10.15 This Settlement Agreement shall be governed by and construed in accordance

with the laws of the State of Illinois without reference to the conflicts of laws provisions thereof.

       10.16 This Settlement Agreement is deemed to have been prepared by counsel for all

Parties, as a result of arm’s-length negotiations among the Parties. Whereas all Parties have

contributed substantially and materially to the preparation of this Settlement Agreement, it shall

not be construed more strictly against one Party than another.

       10.17 Where this Settlement Agreement requires notice to the Parties, such notice shall

be sent to the undersigned counsel: Schuyler Ufkes, sufkes@edelson.com, EDELSON PC, 350

North LaSalle Street, 14th Floor, Chicago, Illinois 60654; John T. Ruskusky,

jtruskusky@nixonpeabody.com, NIXON PEABODY LLP, 70 W. Madison Street, Suite 5200,

Chicago, IL 60602.

                      [SIGNATURES APPEAR ON FOLLOWING PAGE]




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                                                             KANDICE NEALS

            Dated:                                           By (signature):

                                                             Name (printed):


                                                             EDELSON PC

            Dated:                                           By (signature):

                                                             Name (printed):

                                                             Its (title):


                                                             PARTECH, INC.
                     12/23/2021
            Dated:                                           By (signature):
                                                                               Bryan Menar
                                                             Name (printed):
                                                                               CFO
                                                             Its (title):




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                       Exhibit A
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      COURT AUTHORIZED NOTICE OF CLASS                       Neals v. ParTech
      ACTION AND PROPOSED SETTLEMENT                         c/o Settlement Administrator                       First-Class
                                                             P.O. Box 0000                                         Mail
                                                                                                                US Postage
                                                             City, ST 00000-0000
                                                                                                                   Paid
          OUR RECORDS                                                                                           Permit #__
      INDICATE YOU USED A
        FINGER SCANNER
                                                             |||||||||||||||||||||||
         ATTACHED TO A                                       Postal Service: Please do not mark barcode
      PARTECH POS SYSTEM
      WHILE WORKING AT A                                     XXX—«ClaimID» «MailRec»
         RESTAURANT IN
      ILLINOIS AND MAY BE                                    «First1» «Last1»
                                                             «C/O»
         ENTITLED TO A                                       «Addr1» «Addr2»
        PAYMENT FROM A                                       «City», «St» «Zip» «Country»
          CLASS ACTION
          SETTLEMENT.                                                                       By Order of the Court Dated: [date]



      XXX

                                                        CLAIM FORM
     THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
     BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
     Instructions: Fill out each section of this form and sign where indicated. If you prefer to receive payment via Venmo,
     PayPal, Zelle, Prepaid Mastercard, or Direct Deposit (instead of a check), you must submit a Claim Form online at www.
     ParILBIPASettlement.com. If you submit this paper Claim Form and it is approved, you will receive a check in the mail.
     Depending on the number of valid claims submitted, you may need to complete an IRS Form W-9 to satisfy tax reporting
     obligations. You may complete the Form W-9 on the Settlement Website now at www.ParILBIPASettlement.com; doing
     so now will ensure that you receive your full payment as soon as possible.
     Name (First, M.I., Last): _______________________________        ________    __________________________________
     Street Address: ________________________________________________________________________
     City: _______________________________________ State: ____ ____              Zip Code: ____ ____ ____ ____ ____
     Email Address (optional): _________________________________________________________________
     Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
     Class Member Verification: By submitting this Claim Form, I declare that the following information is true and correct:
     I am an individual who scanned my finger on a scanner attached to a ParTech point of sale system (“POS system”) in the
     State of Illinois between March 21, 2014 and [date of Preliminary Approval Order].
     Signature: _____________________________________________             Date: ___ ___/ ___ ___/ ___ ___

     Print Name: ____________________________________________
     The Settlement Administrator will review your Claim Form. If accepted, you will be mailed a check for a pro rata share
     depending on the number of valid claim forms received. This process takes time, please be patient.
                          Questions, visit www.ParILBIPASettlement.com or call [toll free number]
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     This notice is to inform you that a proposed settlement has been reached in a class action lawsuit between ParTech, Inc and certain
     restaurant workers who used a finger scanner attached to a ParTech POS system in the State of Illinois and did not provide written
     consent or accept ParTech’s e-consent before doing so The lawsuit claims that ParTech violated an Illinois law called the Illinois
     Biometric Information Privacy Act when it collected individuals’ biometric data when the individuals used ParTech’s POS systems,
     without complying with the law’s requirements ParTech has denied that it did anything wrong or violated any law The Court has
     not decided who is right or wrong Please read this notice carefully Your legal rights are affected whether you act, or don’t act
     Who is included in the Settlement Class? Our records indicate that you are included in the Settlement Class The Settlement Class
     includes all persons who scanned their fingers in the State of Illinois on a scanner attached to a POS system issued, leased, or sold by
     ParTech, Inc , and for whom any alleged biometric data relating to that scan was shared with or stored by ParTech, between March 21,
     2014 and [preliminary approval date] as long as you did not provide written consent or accept ParTech’s e-consent before doing so
     These POS systems that include a finger scanner attachment are used in some restaurants Some exceptions to participating apply, see
     www ParILBIPASettlement com for details
     What can I get out of the settlement? If you’re eligible and the Court approves the settlement, you can file a claim to receive a cash
     payment The payment amount is estimated to be approximately [$xxx], but could be more or less depending on the number of valid
     claims submitted This amount is an equal share of a $790,000 fund that ParTech agreed to create, after any Court-approved payment of
     settlement expenses, attorneys’ fees, and any incentive award
     How do I get my payment? Just complete and return the attached Claim Form by mail, or you can visit the Settlement Website, www
     ParILBIPASettlement com, and submit a Claim Form online All Claim Forms must be postmarked or submitted online by [Claims
     Deadline].
     What are my Options? You can do nothing, comment on or object to any of the settlement terms, or exclude yourself from the
     settlement If you do nothing, you won’t get a payment, and you won’t be able to sue ParTech or certain related companies and
     individuals in a future lawsuit about the claims addressed in the settlement If you exclude yourself, you won’t get a payment but you’ll
     keep your right to sue ParTech for the claims covered by the settlement You must contact the settlement administrator by mail or e-
     mail to exclude yourself You can also object to the settlement if you disagree with any of its terms All Requests for Exclusion and
     Objections must be received by [Objection/Exclusion Deadline].
     Do I have a lawyer? Yes The Court has appointed lawyers from the law firm Edelson PC as “Class Counsel ” They represent you and
     other Settlement Class Members The lawyers will request to be paid from the total amount that ParTech agreed to pay to the class
     members You can hire your own lawyer, but you’ll need to pay that lawyer’s legal fees if you do The Court has also chosen Kandice
     Neals—a class member like you—to represent the Settlement Class
     When will the Court approve the settlement? The Court will hold a final approval hearing on [date] at [time] before the Honorable
     Franklin U Valderamma in Room 1219 at the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street,
     Chicago, Illinois 60604 The Court will hear objections, determine if the settlement is fair, and consider Class Counsel’s request for fees
     and expenses of up to 35% of the Settlement Fund and an incentive award of $5,000 The request will be posted on the settlement
     website by [two weeks prior to Objection/Exclusion Deadline]




                                                                                                                       NO POSTAGE
                                                                                                                       NECESSARY
                                                                                                                       IF MAILED IN
                                                                                                                       THE UNITED
                                                                                                                          STATES




                                                   Neals v. ParTech Settlement
                                                   c/o Settlement Administrator
                                                   PO Box 0000
                                                   City, ST 00000-0000




     XXX
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                        Exhibit B
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     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS

                      Neals v. ParTech, Inc., Case No. 19-cv-05660

 IF YOU USED A FINGER SCANNER ATTACHED TO A PARTECH POS SYSTEM
WHILE WORKING AT A RESTAURANT IN ILLINOIS YOU MAY BE ENTITLED TO
           A PAYMENT FROM A CLASS ACTION SETTLEMENT

This is an official court notice. You are not being sued. This is not an ad for a lawyer.

•   A Settlement has been reached in a class action lawsuit between ParTech, Inc. (“Defendant” or
    “ParTech”) and certain restaurant workers who scanned their finger on a scanner attached to a
    ParTech point-of-sale system (“POS system”) in the State of Illinois. The lawsuit claims that
    ParTech violated an Illinois law called the Illinois Biometric Information Privacy Act
    (“BIPA”) when it allegedly collected individuals’ biometric data (which also may be referred
    to as biometric identifiers or biometric information) when they used a finger scanner attached
    to ParTech’s POS system without complying with the law’s requirements. ParTech has denied
    it did anything wrong or violated any law. The Court has not decided who is right or wrong.
    The Settlement has been preliminarily approved by a federal court in Chicago, Illinois.

•   You are included in the Settlement if you scanned your finger on a scanner attached to a POS
    system issued, leased, or sold to your employer by ParTech, and if your alleged biometric data
    relating to that scan was shared with or stored by ParTech, between March 21, 2014 and
    [preliminary approval]. Those who agreed to ParTech’s e-consent or in writing to the collection
    of this alleged biometric information before first scanning their finger are not included. The
    POS systems at issue—those with a finger scanner attached—are used in some restaurants. If
    you received a notice of the Settlement in the mail, our records indicate that you are a class
    member and are included in the Settlement. You may contact the Settlement Administrator
    here [link to Contact Page] to ask whether you are a Settlement Class member.

•   If the Court approves the Settlement, members of the Settlement Class who submit valid claims
    will receive an equal, or pro rata, share of a $790,000 settlement fund that ParTech has agreed
    to establish, after all notice and administration costs, incentive award, and attorneys’ fees—if
    approved by the Court—have been paid. Individual payments to class members who submit a
    valid Claim Form are estimated to be [$xxx], but could be more or less depending on the
    number of valid claims submitted.

•   Please read this notice carefully. Your legal rights are affected whether you act, or don’t act.




                      QUESTIONS? VISIT WWW.PARILBIPASETTLEMENT.COM
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